Case 18-00959-RLM-13        Doc 65    Filed 04/04/19    EOD 04/04/19 13:45:36       Pg 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

IN RE:                                        )
                                              )
Teresa Lynn Buck                              )
                                              )        CASE NUMBER: 18-00959-RLM-13
Michael Lee Buck
                                              )
                                              )
DEBTORS


                            NOTICE OF PLAN COMPLETION

     The Chapter 13 Trustee hereby certifies that the Debtors have completed all
payments under the confirmed Chapter 13 plan.

       If the Debtors are eligilble for a discharge, the Debtors are now required to file a
Motion for Entry of Chapter 13 Discharge and Debtor's Certification of Eligibility on the
Court's form. Those forms are available at http://www.insb.uscourts.gov under
Forms/Local/Chapter 13. (If applicable, the debtor(s) must also send notice of the filing of
the Certification of Eligibility to any holder of a domestic support obligation.)

     FAILURE TO FILE THE MOTION FOR ENTRY OF CHAPTER 13 DISCHARGE
WITHIN 30 DAYS AFTER THE FILING OF THIS NOTICE MAY RESULT IN THE
CLOSING OF THE CASE WITHOUT A DISCHARGE.




                                              /s/ John M. Hauber
                                              John M. Hauber
Case 18-00959-RLM-13         Doc 65     Filed 04/04/19    EOD 04/04/19 13:45:36        Pg 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on Thursday, April 4, 2019, a copy of the foregoing Notice of
Plan Completion was filed electronically. Notice of this filing will be sent to the following
party/parties through the Court's Electronic Case Filing System. The part/parties may
access this filing through the Court's system.


                                 US Trustee
                                 ustpregion10.in.ecf@usdoj.gov

                                 ICE MILLER LLP
                                 thomas.mixdorf@icemiller.com



      I further certify that on Thursday, April 4, 2019, a copy of the foregoing Notice of
Plan Completion was mailed by US First-Class mail, postage prepaid and properly
addressed to the following:




Teresa Lynn Buck
Michael Lee Buck
2426 N 700 E
Franklin, IN, 46131



                                                /s/ John M. Hauber
                                                John M. Hauber, Trustee
